61 F.3d 895
    Willis Mory Hodgev.St. Croix Hotel Corp., d/b/a St. Croix By The Sea Hotel, St.Croix By The Sea Prinair Hotel, d/b/a St. CroixHotel Corporation
    NO. 94-7200
    United States Court of Appeals,Third Circuit.
    June 16, 1995
    Appeal From:  D.V.I., No. 93-00148
    
      1
      AFFIRMED.
    
    
      2
      Federal Reporter.  The Third Circuit provides by rule for the reporting of opinions having 'precedential or institutional value.  An opinion which appears to have value only to the trial court or the parties is ordinarily not published.' The Federal Reporter tables are prepared from lists of cases terminated by judgment orders, unpublished per curiam opinions and unpublished signed opinions, indicating the disposition of each case, transmitted by the Court.  Third Circuit Rules, App. 1, Internal Operating Procedures, Ch. 5, sec. 5.1, 28 U.S.C.A.)
    
    